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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                CASE NO: 2:13-cr-89-FtM-38CM

MARTHA OTANO



                                        ORDER

      This matter comes before the Court upon the filing of the United States’ motion

for a forfeiture money judgment against defendant Martha Otano in the amount of

$1,307,000.00, and a preliminary order of forfeiture for the following substitute assets,

pursuant to 31 U.S.C. § 5317(c)(1) and Rule 32.2, Federal Rules of Criminal Procedure:

             a.     Approximately $104,628.86 seized from Bank of
                    America account number 229018579207;

             b.     Approximately $48,823.76 seized from Fifth Third
                    Bank account number 7432958770;

             c.     Approximately $49,832.55 seized from Fifth Third
                    Bank account number 7432958762;

             d.     Cash in the amount of $1,092.00;

             e.     Cash in the amount of $475,260.00;

             f.     Cash in the amount of $70,888.00;

             g.     $72,727.27 sent via wire transfer to the United States
                    Secret Service on or about January 22, 2014;

             h.     2012 Chevy Truck registered to St. Victory Inc.,
                    Vehicle Identification Number: 1GC1KXC80CF126482;

             i.     2013 Mercedes registered to St. Victory Inc.,
                    Vehicle Identification Number: WDDLJ7EB1DA062414;
                    and,
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                 j.     $37,124.35 currently held in the Trust Account of
                        Attorney Robert N. Nicholson, Esq.

          The Court finds that the United States has established that the $1,307,000.00

was involved in the structuring conspiracy for which the defendant has been adjudged

guilty.

          Furthermore, the United States is entitled to forfeiture of the substitute assets

identified above, pursuant to 31 U.S.C. § 5317(c)(1)(B) and Rule 32.2(e)(1)(B), Federal

Rules of Criminal Procedure. Accordingly, it is hereby

          ORDERED that for good cause shown, the United States’ motion is GRANTED.

          It is FURTHER ORDERED that, pursuant to the provisions of 31 U.S.C.

§ 5317(c)(1) and Rule 32.2, Federal Rules of Criminal Procedure, defendant Martha

Otano is jointly and severally liable for a forfeiture money judgment in the amount of

$1,307,000.00, which represents the amount of property involved in the offenses for

which she was convicted in Counts Two and Four of the Indictment, and a preliminary

order of forfeiture for the substitute assets identified above.

          The Court retains jurisdiction to enter any further order necessary for the

forfeiture and disposition of this and any other property belonging to the defendant,

which the United States is entitled to seek as substitute assets under 21 U.S.C. §

853(p), as incorporated by 31 U.S.C. § 5317(c)(1)(B), up to and including the amount of

the $1,307,000.00 forfeiture money judgment, and to entertain any third party claim that

may be asserted in these proceedings.

          Accordingly, it is now

          ORDERED:




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      Motion for Forfeiture (Doc. 120) is GRANTED.

      DONE AND ORDERED at Fort Myers, Florida, this July 14, 2014.




Copies: Counsel of Record




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